        Case 1:15-cv-00264-SCJ Document 1 Filed 01/28/15 Page 1 of 8




           IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION
                             )
WILHELMINA JORDAN,           )
    Plaintiff,               )
                             ) CIVIL ACTION NO.: __________
v.                           )
                             )
EMORY HEALTHCARE, INC.,      )
    Defendant.               ) JURY TRIAL DEMANDED
                             )

                  COMPLAINT AND JURY DEMAND

     COMES NOW Plaintiff Wilhelmina Jordan, by and through

undersigned counsel, and hereby files this COMPLAINT AND JURY

DEMAND against Defendant Emory Healthcare, Inc. (hereinafter

Defendant) and shows the Court as follows:

1.   Ms. Jordan was an employee of Emory Healthcare, Inc. and brings

this action against the Defendant for overtime compensation, lost

wages, liquidated damages, attorney’s fees, costs, interest and any other

relief authorized under the Fair Labor Standards Act, as amended, 29

U.S.C. §201 et. seq. (hereinafter “FLSA”) for losses suffered as a result

of the Defendant’s unlawful acts.



                                     1
           Case 1:15-cv-00264-SCJ Document 1 Filed 01/28/15 Page 2 of 8




                        JURISDICTION AND VENUE

2.   The jurisdiction of this Court is invoked pursuant to 28 U.S.C.

§1331, which confers original jurisdiction upon the District Court “of all

civil actions arising under the constitution, laws, or treaties of the

United States.” This action arises by way of the FLSA, a federal

statute.

3.   The Supplemental jurisdiction of this Court is invoked pursuant to

28 U.S.C. §1367 as it pertains to Ms. Jordan’s Breach of Contract claim.

4.   Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(2)

because the acts, events and omissions which violated the FLSA

occurred primarily in the Northern District of Georgia.

5.    Defendant may be served pursuant to Rule 4 of the Federal Rules

of Civil Procedure by delivering the Summons and Complaint to its

Registered Agent Jane E. Jordan at 201 Dowman Dr. 101 Adm Bldg.

Atlanta, Georgia 30322.




                                        2
          Case 1:15-cv-00264-SCJ Document 1 Filed 01/28/15 Page 3 of 8




 ENTERPRISE AND INDIVIDUAL COVERAGE UNDER THE FLSA

6.    Defendant is an employer defined by 29 U.S.C. §203(d).

7.    At all times relevant to this lawsuit Defendant was an enterprise

with over $500,000.00 per year in sales or business.

8.    Defendant is a medical company that owns and operates the

Emory University Medical Center.

9.    As a part of her job, Ms. Jordan handled transactions with

business that sold goods which moved in interstate commerce. Ms.

Jordan also made phone calls and sent letters to companies in other

states.

10.   As part of her job Ms. Jordan would set up “freedom accounts”

with client services, which was located in a state other than Georgia.

          FACTS THAT GIVE RISE TO THE FLSA VIOLATION

11.   Ms. Jordan began working for Defendant in December of 1995 in

Patient Services.

12.   In 2004 Ms. Jordan internally transferred to the Food and

Nutrition Department, working in the retail sales Bakery.




                                       3
        Case 1:15-cv-00264-SCJ Document 1 Filed 01/28/15 Page 4 of 8




13.   Defendant paid Ms. Jordan as an hourly employee and she was

entitled to overtime benefits when she worked overtime.

14.   In August of 2013 Ms. Jordan was promoted to an “Acting”

Assistant Manager position. Prior to this promotion she was a

supervisor.

15.   Along with the promotion was a .79 per hour pay raise.

16.   Defendant paid Ms. Jordan the raise for the first three months but

then it was taken away. Ms. Jordan was not paid the .79 per hour for

the last six month she was in the position of Acting Assistant Bakery

Manager.

17.   Defendant was contractually obligated to pay the raise amount.

18.   Even though her label was Assistant Manager, Defendant did not

treat Ms. Jordan as a salaried employee; rather they continued to treat

her as an hourly employee, requiring her to clock-in and out.

19.   However, after the promotion Ms. Jordan was expected to do all

the normal duties she had as a supervisor, but also handle issues as

they arose like a Manager would handle those issues.




                                     4
        Case 1:15-cv-00264-SCJ Document 1 Filed 01/28/15 Page 5 of 8




20.   For example, on many occasions Ms. Jordan returned e-mails and

answered phone calls after she had clocked out. Ms. Jordan had to do

this because there would often be problems with individuals who

worked on the late shift.

21.   Ms. Jordan was the initial point of contact when there were

problems with the bakery, whether these problems occurred during

normal working hours, or after she had clocked out for the day.

22.   Ms. Jordan’s supervisors understood she would work off the clock

because she would copy them on e-mails and discuss the after-hours

issues with them.

23.   None of her supervisors ever told Ms. Jordan she was entitled to

overtime pay for the time she worked off the clock.

24.   In addition to the off the clock work, Defendant’s time

management system automatically docked a half hour from Ms.

Jordan’s shift work because it assumed Ms. Jordan would take a half

hour break every shift.

25.   However, Ms. Jordan was often required to work through the

breaks she received during the day.


                                      5
          Case 1:15-cv-00264-SCJ Document 1 Filed 01/28/15 Page 6 of 8




26.     No one ever explained to Ms. Jordan that when she worked

through a break, that the law required her to get paid for that work.

27.     On average Ms. Jordan worked 7-15 hours of overtime per week

without compensation.

28.     On or about July 18, 2014 the position of Assistant Bakery

Manager was rescinded and Ms. Jordan was terminated in November of

2014.

      COUNT I VIOLATION OF FALIR LABOR STANDARDS ACT
         OVERTIME REQUIREMENTS 29 U.S.C. §207(a)(1)

29.     Plaintiff reincorporates and readopts all allegations contained in

paragraphs one through twenty-eight above.

30.     Plaintiff was entitled to be paid time and one-half her regular rate

of pay for each hour worked in excess of forty (40) per work week.

31.      During her employment with Defendant, Plaintiff did not receive

full compensation for overtime hours worked.

32.     As a result of Defendant’s intentional, willful and unlawful acts in

refusing to pay Plaintiff overtime compensation, Plaintiff has suffered

damages plus incurring reasonable attorneys’ fees and costs.



                                       6
        Case 1:15-cv-00264-SCJ Document 1 Filed 01/28/15 Page 7 of 8




33.   As a result of Defendant’s willful violation of the FLSA, Plaintiff is

entitled to liquidated damages.

                             COUNT II
                        BREACH OF CONTRACT

34.   Plaintiff reincorporates and readopts all allegations contained in

paragraphs one through twenty-eight above.

35.   Ms. Jordan was promised a pay raise in return for her accepting

the position of Assistant Bakery Manager.

36.   Ms. Jordan was given the raise for three months then it was taken

away from her.

37.   Ms. Jordan was damaged as a result of the Defendant’s decision

not to pay her the promised pay raise.

38.   The conduct of Defendant constitutes those aggravating

circumstances that entitle Ms. Jordan to recover punitive damages

pursuant to O.C.G.A. §51-12-5.1

39.   The actions of Defendant constitute and are evidence of bad faith

conduct in the series of events that gave rise to the cause of action,

which entitle Ms. Jordan to recover all expenses of litigation, including

reasonable attorney fees, as provided by O.C.G.A. §13-6-11.

                                     7
        Case 1:15-cv-00264-SCJ Document 1 Filed 01/28/15 Page 8 of 8




                            PRAYER FOR RELIEF

     WHEREFORE, Ms. Jordan demands judgment against the

Defendant for payment of all overtime hours at one and half the regular

rate of pay, lost wages, liquidated damages, attorney’s fees, costs,

interest, and all further relief the Court or Jury determines to be just

and appropriate.

                              JURY DEMAND

     Ms. Jordan requests a Jury Trial for all issues this Court deems

appropriate for the jury.

     Dated this 28TH day of January, 2015.


                                         /s/ Thomas C. Wooldridge
                                         Thomas C. Wooldridge
                                         Georgia Bar No. 384108
                                         Wooldridge and Jezek, LLP
                                         1230 Peachtree Street NE
                                         Suite 1900
                                         Atlanta, GA 30309
                                         Tel: 404.942.3300
                                         Fax: 404.942.3302
                                         Attorney for Plaintiff




                                     8
